Case 3:20-cv-00213-RAH-SMD Document 81 Filed 12/08/22 Page 1of2

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA

KASTERN DIVISION
PAMELA HOWARD, )
)
Plaintiff, )
) Case No.: 3:20-cv-00213-RAH
v. ) -SMD
)
IVY CREEK OF TALLAPOOSA, LLC. )
d/b/a LAKE MARTIN COMMUNITY )
HOSPITAL et al. )
)
Defendants, )

JOINT STIPULATION OF DISMISSAL

Pursuant to Fed. R. Civ. P. 41(a)(1)(A)Gi), Plaintiff Pamela Howard and
Defendants Ivy Creek of Tallapoosa d/b/a Lake Martin Community Hospital, Ivy
Creek Healihcare LLC, Group Benefit Plan; Ivy Creek Healthcare, LLC.
(collectively, “the Parties”) stipulate to the dismissal of this action with prejudice,
with each party to bear his or its own fees, expenses, and costs.

Respectfully submitted this the th day of December, 2022.

Respectfully Submitted,

(GG.
Bb Pian Pamela

Howar

M. Clayborn Williams (ASB-9101-A43M)
David P. Martin (ASB-3500-M68D)

Case 3:20-cv-00213-RAH-SMD Document 81 Filed 12/08/22 Page 2 of 2

Ariel Blocker (ASB-0090-Z82A)
The Martin Law Group, LLC
P.O. Box 20087

Tuscaloosa, AL 35402

Phone (205) 343-1771

Facsimile (205) 343-1781
clay@erisacase.com
david@erisacase.com
ariel(@erisacase.com

WV tio Ginn remo

Attorney for Defendants Ivy Creek of
Tallapoosa, LLC d/b/a Lake Martin
Community Hospital;Ivy Creek
Healthcare LLC, Group Benefit Plan, Ivy
Creek Healthcare, LLC.

Mark Allen Treadwell, I
Oliver and Treadwell, LLP

129 West Columbus Street
Dadeville, AL 36853
markallen@olivertreadwell.com

